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4    Attorney for Defendant
     ALYNCIA ELLIOT
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8                             UNITED STATES DISTRICT COURT
9                           EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA, ) CASE NO.: 1:14-CR-103 LJO SKO
12                             )
                               ) WAIVER OF DEFENDANT’S PERSONAL
13                             ) APPEARANCE AND ORDER
14
               Plaintiff,      )
                               )
15        vs.                  )
                               )
16   ALYNCIA ELLIOT,           )
17
                               )
               Defendant.      )
18
            The undersigned defendant, Alyncia Elliot, having been advised of her right to be
19

20   present at all stages of proceedings, including but not limited to presentation of

21   arguments on questions of law, to be confronted by and to cross-examine all witnesses, to
22
     be present in person in open court upon the hearing of any motion or other pre-trial
23
     proceeding in this case, including any status conference, motions hearing, trial
24
     confirmation, and/or when a continuance is ordered, hereby requests the court to proceed
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26   during every absence of hers which the court may permit pursuant to this waiver, and

27   allow her attorney to represent her interests at all times. Defendant further agrees that
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     notice to defendant’s attorney that defendant’s presence is required will be deemed notice



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1    to defendant of the requirement of her appearance at said time and place. This request is
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     made pursuant to Fed.R.Crim.P.43(b)(3).
3
            I declare under penalty of perjury that the foregoing is true and correct
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5
            Executed this 9th day of June, 2014

6

7                                          /s/Alyncia Elliot
8
                                           ALYNCIA ELLIOT

9
                                           AGREED BY COUNSEL:
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11          DATED: June 11, 2014           Barbara Hope O’Neill
                                           BARBARA HOPE O’NEILL
12                                         Attorney for Defendant, ALYNCIA ELLIOT
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14

15                                            ORDER
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17   IT IS SO ORDERED.

18      Dated:     June 23, 2014                                  /s/ Sheila K. Oberto
19                                           UNITED STATES MAGISTRATE JUDGE

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